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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CHARLES EKOKOBE, an individual, CASE NUMBER

5:17-cv-00931 PA (KKX)

 

 

Plaintiff(s),
V.
DEL MAR RECOVERY SOLUTIONS’ NoTICE oF DISMISSAL PURSUANT
INC. c rf ' ' -
’ a a 1 °mla °°ip°rat‘.°n’ and To FEDERAL RULES oF CIVIL
DOES 1 through 10,1ncluslve, PROCEDURE 41(a) cr (c)
Defendant(s).

 

PLEASE TAKE NOTICE: (Check one)

Ei This action is dismissed by the Plaintiff(s) in its entirety. The dismissal is With prejudice.

|:|

The Counterclaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.

The Cross-Claim brought by Claimants(s) is
dismissed by the Claimant(s) in its entirety.

The Third-party Claim brought by Claimant(s) is
dismissed by the Claimant(s) in its entirety.

ONLY Defendant(s)

 

 

is/are dismissed from (check one) |:| Complaint, |:l Counterclaim, |:l Cross-claim, [l Third-Party Claim
brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

June 12, 2017 /s/ Brandon A. Block

 

Date Signature of A tlorney/Party

NOTE: F.R.Civ.P. 41 (a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

F.R. Civ.P. 41 (c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
pleading or prior to the beginning of trial.

 

CV-09 (03/10) NOTlCE OF DlSMlSSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)

